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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MILLER UK LTD. AND MILLER
INTERNATIONAL LTD.,

                  Plaintiffs,
                                                    Civil Action No. 10-cv-03770
       v.
                                                    Honorable Andrea R. Wood
CATERPILLAR INC.,
                                                    Honorable Magistrate Judge Jeffrey Cole
                  Defendant.

CATERPILLAR INC.,

                  Counterclaim–Plaintiff,

       v.

MILLER UK LTD. AND MILLER
INTERNATIONAL LTD.,

                  Counterclaim–Defendants.



             AGREED ORDER REGARDING SPECIAL MASTER REVIEW
                      OF PRIVILEGE LOG DOCUMENTS

       During a June 24, 2014 status hearing with this Court, the parties reported that they were

considering hiring a Special Master to review documents identified on the parties’ respective

privilege logs. (See Dkt. No. 547.) Since then, the parties have conferred and have agreed that

the appointment of a Special Master is necessary. The parties respectfully request that this Court

appoint a Special Master to (1) review the documents identified on the logs and (2) determine

whether such documents are properly withheld under a claim of attorney-client privilege, the

work product doctrine, or any other asserted privilege (hereinafter “privilege claim”). The

parties respectfully request that this Court appoint someone with sufficient time to review the
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roughly 4,000 documents to be submitted by the parties and make his or her decisions within

three weeks from receipt of the documents. (The parties reserve the right to object to the

appointed individual within seven (7) days.)

       It is ordered that:

       1. Within seven (7) days of the Special Master’s appointment (unless the Special Master

           is objected to), each party shall provide the Special Master with the following

           documents: (a) a hard copy and electronic copy of the latest version of the privilege

           log; (b) a hard copy of all documents for which privilege has been asserted. For those

           documents that have been redacted, the parties shall produce an un-redacted version

           of the document paper clipped to and immediately behind the redacted version. The

           parties shall provide the Special Master with limited additional information, including

           the operative pleadings and key players guides. Simultaneous with the submission to

           the Special Master, each party shall provide the other with the key players guides and

           a copy of the privilege log that was provided to the Special Master.

       2. Within twenty-one (21) days of receipt of the parties’ respective logs and documents,

           the Special Master shall provide a list of those documents for which the Special

           Master disagrees with the privilege claim. Each party shall have seven (7) days from

           receipt of the Special Master’s list to appeal the decision to this Court.

       3. Within seven (7) days of the Special Master’s decision (if not appealed), or within

           seven (7) days of this Court’s ultimate decision (if the Special Master’s decision is

           appealed), the parties shall produce any documents deemed not privileged (including

           any portions of previously-redacted documents that have been deemed not

           privileged).


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       4. The parties agree that fees and expenses associated with the Special Master’s review

          will be shared equally by the parties.




Dated: July 2, 2014.                                   ______________________________
                                                       Andrea R. Wood
                                                       United States District Judge




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